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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

KIMBERLY Y. LAFAVE, et al.                           )
                                                     )
       Plaintiffs                                    )
                                                     )
v.                                                   )       Case No. 1:23-cv-1605 (WBP)
                                                     )
THE COUNTY OF FAIRFAX, VIRGINIA,                     )
and KEVIN DAVIS, in his Official Capacity            )
as Chief of Police                                   )
                                                     )
       Defendants                                    )



                              DECLARATION OF SARA BALDWIN
                 I, Sara Baldwin, provide this declaration in support of the Motion for

Summary Judgment filed by Defendants. I declare and state as follows:

       I.       I am the Deputy Director and Chief Operating Officer for the Fairfax County

Parks Authority ("FCPA"). I have held this position since 2011. I hold a bachelor's degree in

recreation and leisure services. My resume is attached hereto as Exhibit 1.

       2.       The FCPA is a separate legal entity from Fairfax County. The FCPA's mission is

to enrich quality of life for all members of the community through an enduring park system that

provides a healthy environment, preserves natural and cultural heritage, offers inspiring

recreational experiences, and promotes healthy lifestyles.

       3.       There are 420 parks in Fairfax County that are managed by FCPA. Attached

hereto as Exhibit 2 is a map of the parks situated within Fairfax County (sometimes collectively,

the "Parks").

       4.       The Parks are open from dawn to dusk except where there are lighted facilities

like athletic fields and courts and community buildings located on park property. It is illegal and

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considered trespassing to enter the Parks when they are closed. There are signs at points of entry

to the Parks to notify visitors when the Parks are open.

         5.         Each year, the Parks receive between 12 and 16 million visitors. Visitors to the

Parks include individuals of all ages but most FCPA programming is geared towards families

and children. Of the approximately 16 million visitors to the Parks in FY 2023, about one

quarter were children.

             6.      The Parks range in size from one-tenth of an acre at Farrington Park to Huntley

Meadows Park's 1,558 acres. But even some of the smaller parks are heavily visited. For

example, Clemyjontri Park is a small park of just 18 acres, but its attractive playground

structures and picnic shelter have made it a regional destination for families of all ages, and

notably for children with special needs. It had 111,715 visitors in FY 2023. Tiny Farrington

Park is a playground designed for children aged 2-12 years.

             7.      The FCPA also offers several popular amusements within the Parks. Thousands

of children and families enjoy minigolf and carousel and train rides at several parks. Here are

statistics of utilization of these amusements at the Parks for the last three fiscal years:

                                  FY21                                      FY22                                    FY23
                  Carousel     Train        Mini Golf     Carousel       Train        Mini Golf     Carousel     Train        Mini Golf
 Burke Lake           17,971       46,040       13,193       13,967          44,036       14,086       15,607        32,844       12,578
 Clemyjontri          33,737                                 37,559                                    27,823
 Franconia            19,153                                 16,001                                     10,807
 Frying Pan           27,412                                  20,236                                    18,826
 Jefferson                                        6,239                                   16,370                                  13,214
 Lake Accotink         5,083                      4,881        3,968                        4,064        1,150                      3,032
 Oakmont                                        16,533                                    15,000                                  11,826



             8.      The FCPA offer extensive programming which is listed in a quarterly magazine

called Parktakes. Parktakes is published for all to see at

https://www.fairfaxcounty.gov/parks/parktakes. The most recent version is dated Summer 2024.




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         9.     The purpose of Parktakes is to inform the public about the FCPA's amenities,

programs and events. All 420 parks may be found on the park amenity locator including

recreational centers, major, local and resource parks, nature centers, historic sites, golf courses

and major trails (walking, biking and equestrian) that run through the County. The locator can

be seen on the County's website: https://www.fairfaxcounty.gov/parks/locator.

         10.    Within each Parktakes magazine, one can find extensive programming which is

listed alphabetically starting with Adapted Recreation Services and concluding with Xtras and

everything in between including: Aquatics, Camps, Children's Corner, Dance, Exercise and

Physical Fitness, Fine Arts and Crafts, Golf, Nature, Science and Technology and Scout

Activities, to name several. Thousands of programs and activities are offered throughout the

year.

         11.     The vast majority of registered events at the Parks are focused on youth

programming.' The number of youths who participated in those registered events in Fiscal Year

("FY")2 2023 totaled 83,804 (and in FY 2022 totaled over 100,000). Adult participation in

registered events totaled over 44,000 in FY 2023.

         12.     In FY 2023, summer camp registrations were particularly strong with over 43,000

registrations for 1,372 camps at dozens of locations. Youths make up the large majority of

participants in the FCPA's summer camp program.

          13.    But the programs and activities referenced in Parktakes represent a fraction of the

activity within the Parks since this programming is limited to registered programs (where people

must register in advance to participate). The FCPA also issues park permits for use of athletic




 I   Youth programming is defined as programming for those under the age of eighteen.
2    The FCPA fiscal year runs from July 1 to June 31.
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fields, trails and some picnic areas. Permitted park activities are not reflected among the

numerous registered programs found in Parktakes.

        14.    A permit is required where 25 or more people want to use trails located within the

Parks (such as for an organized run or trail visit). A permit is also required where groups of 75

or more use locations and facilities on PCPA property for a "public gathering," such as a

demonstration, picketing, speech-making, vigils, parades, ceremonies, meetings, rallies,

entertainment, games, shows, concerts, and all other forms of public assembly.

        15.    Organized use of athletic fields, picnic shelters and areas, and amphitheaters,

requires permitting. There are over 100 picnic shelters and about 230 athletic fields in the

FCPA.

        16.    Permitted events are varied and include, for example, Earth Day in April, which

usually has between 5,000 and 8,000 people in attendance. Another example is the 4-H Fair at

Frying Pan Park, which hosts over 10,000 people annually. Other permitted events at FCPA

include youth instructional and educational events, youth and adult sports, church services and

related gatherings, family reunions, holiday-themed special events (such as breakfast with Santa,

holiday lights on the farm, Juneteenth celebrations), fundraising events, preschool performances,

Senior Olympics, 5 & 10K races, mountain bike races, July 4 celebrations, PTO/PTA

celebrations, protests, and election-related activities.

        17.    One may also obtain a camping permit at Burke Lake Park and at Lake Fairfax

where the numbers justify the request. The FCPA accepts over 200,000 camping reservations

each year.

        18.     Scouts also obtain permits at FCPA for their programming. There were 566

permits issued to various Scout troops with over 5,800 scouts in attendance in FY 2023. Scout



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activities often occur in some of the larger parks like Burke Lake and Lake Fairfax or more

wooded parks like Riverbend. Activities include camping, hiking, volunteerism and badge

acquisition.

       19.     School field trips also require permitting through the FCPA. In FY 2023 alone,

over 47,000 students participated in 830 school field trips at the Parks. The field trips are

centered around typical youth activities such as hiking, historic tours, visiting nature centers and

exploring nature.

        20.    Fairfax County Public Schools and private schools use the Parks for youth

activities through the permitting process for softball and baseball fields, rectangular fields, trails,

tennis courts and golf courses. For example, the high schools utilize the golf courses for their

regular and post-season competition.

        21.     In addition to permitted events, the FCPA offers several special events. Each year

the FCPA offers a Summer Entertainment Series. In the summer of 2022 alone, for example, the

FCPA offered 184 shows at 17 locations including five children's performances, a drive-in

movie series, an international cultural heritage series and a global music and dance series.

        22.     The FCPA also runs three preschools on its property: one each at Spring Hill and

Franconia Rec Centers and one at Riverbend Park. In addition, a third-party runs a preschool

program at Frying Pan Park. Also, the FCPA offers drop-in daycare at the Oakmont and Cub

Run Rec Centers.

        23.     Beyond registered programs and permitted activities, thousands of people just

walk or drive in and use parks for a wide range of activities such as playing sports, sunbathing,

picnicking, birdwatching, jogging, hiking, etc.




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       24.     The FCPA tracks visitor data. Exhibit 3 shows data reflecting the number of

people who participated in various registered events. The data show that only a small fraction of

the visitors come to the Parks for registered programs and permitted activities.

       25.     FCPA trails are particularly popular. There are over 350 miles of trails at the

Parks. The FCPA labels parks without amenities like a rec center or athletic fields as "resource-

based parks." As one example of a resource-based park, over 70,000 people visited Riverbend

Park in FY 2023. As noted above, Riverbend Park is also the site of a preschool.

       26.     The FCPA has a new strategy called Parks, Recreation, Open Space, and Access

("PROSA"). The PROSA Strategy provides a countywide roadmap to improve park access,

provide a better balance of recreational experiences, bolster habitat connectivity, and prioritize

recreation needs and projects with an equity lens to meet the diverse needs of Fairfax County

residents.

       27.     The first strategy of PROSA is to improve 10-minute walk access for County

residents to the Parks. Having a park within a 10-minute ('/2 mile) walk from home encourages

greater physical activity. Walkable park access is an important factor in measuring how parks are

serving the community. Roughly 48% of Fairfax County residents do not have 10-minute walk

access to the Parks.

        28.    The PROSA Strategy not only looks at access to parks, but it also examines

experiences in the Parks. Complete park access, the second component of the PROSA Strategy,

looks at the types of activities within parks to provide a balance of recreational experiences

within a community. To achieve this balance countywide, all residents should have access to

active, passive/contemplative, social, and natural/cultural recreational experiences within a 10-

minute walk or 5-minute drive from their home.



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       29.     The third PROSA Strategy, habitat connectivity, focuses on preserving and

enhancing our natural heritage for the present and future. This component of the PROSA

Strategy assesses tree canopy and habitat quality at parks.

       30.     The FCPA operates parks in Fairfax County for the benefit of the community.

The FCPA has an annual budget of over $83 million for FY 2024. The FCPA expects to generate

over $50 million in revenue towards its budget from its various programs and offerings. This

represents about 60% of all revenue necessary to operate the FCPA each year (with taxpayer

revenue accounting for the remainder). It is noteworthy that FCPA's cost recovery far exceeds

that which is typical for public parks: FCPA cost recovery is over twice the national average of

25%.

       31.     The FCPA programs and offerings that contribute the most revenue include

recreation centers and eight golf courses. In FY 2023, recreation centers and golf courses

generated over $27 million and over $16 million in revenue, respectively. The FCPA competes

with the private sector for consumer utilization of similar recreation offerings.

       The Ordinance

        32.    In September of 2020, the Board of Supervisors enacted Fairfax County Code

section 6-2-1 (the "Ordinance"). I worked with FCPA staff to implement the necessary changes

to park rules and policies. The FCPA participated with the County on information releases,

including this one: https://www.fairfaxcounty.gov/news/board-votes-prohibit-weapons-county-

buildings-parks-special-events. The General Park Rules, which are available at

https://www.fairfaxcounty.gov/parks/rules/general, show that firearms are prohibited.

        33.    The FCPA posted signs at all of the Parks. Exhibit 4 is a photograph of the signs

that are posted in the Parks and on the doors of all Parks facilities.



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         34.           The FCPA has about 500 full time employees and, during our peak season,

another 2,000 seasonal non-merited employees.

         35.           Beginning in September 2020, the FCPA made a substantial effort to educate its

employees about the Ordinance. Exhibit 5 is a memorandum issued at that time to all employees

of the FCPA ("Memorandum"). In addition, and also in September 2020, we held a town hall

meeting of employees to further emphasize the policies and procedures outlined in the

Memorandum.

          36.          The FCPA reviews with and makes available to new employees its policies and

procedures (including the Memorandum) during the onboarding process.

          I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 25, 2024.


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                                                    SARA BALDWIN

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